        Case 2:17-cv-00438-SMJ   ECF No. 3   filed 01/11/18     PageID.49 Page 1 of 3




 1 Barry M. Kaplan, WSBA #8661
   Gregory L. Watts, WSBA #43995
 2 WILSON SONSINI GOODRICH & ROSATI
   Professional Corporation
 3 701 Fifth Avenue, Suite 5100
   Seattle, WA 98104-7036
 4 Telephone: (206) 883-2500
   Facsimile: (206) 883-2699
 5 Email: bkaplan@wsgr.com
   Email: gwatts@wsgr.com
 6
   Attorneys for Defendants
 7 Giga Watt, Inc. and
   GigaWatt, Pte., Ltd.
 8
 9
10                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
11
12 STORMSMEDIA, LLC,                           CASE NO.: 2:17-cv-00438-SMJ

13               Plaintiff,                    CLASS ACTION

14         v.                                  NOTICE OF APPEARANCE OF
                                               BARRY M. KAPLAN ON BEHALF
15 GIGA WATT, INC., et al.,                    OF GIGA WATT, INC. and
                                               GIGAWATT, PTE., LTD.
16               Defendants.
17
18
19
20
21
22
23
24
25
     NOTICE OF APPEARANCE OF
                                                         WILSON SONSINI GOODRICH & ROSATI, P.C.
     BARRY M. KAPLAN                                 701 Fifth Avenue, Suite 5100, Seattle, WA 98104-7036
                                                          Tel: (206) 883-2500 $ Fax: (206) 883-2699
        Case 2:17-cv-00438-SMJ     ECF No. 3     filed 01/11/18     PageID.50 Page 2 of 3




 1         TO:          The Clerk of the Court
 2         AND TO:      All Parties of Record
 3         PLEASE TAKE NOTICE that Barry M. Kaplan of Wilson Sonsini Goodrich
 4 & Rosati hereby appears as attorney of record for Defendants Giga Watt, Inc. and
 5 GigaWatt, Pte., Ltd. Mr. Kaplan hereby requests that all future papers and
 6 pleadings herein, except original process, be served upon him, at the address set
 7 forth below. Such appearance shall be without prejudice to the Defendants’ ability
 8 to contest jurisdiction or service of process or assert any other rights or defenses.
 9 Dated: January 11, 2018
10                                          s/ Barry M. Kaplan
                                            Barry M. Kaplan, WSBA #8661
11                                          Gregory L. Watts, WSBA #43995
                                            WILSON SONSINI GOODRICH & ROSATI
12                                          Professional Corporation
                                            701 Fifth Avenue, Suite 5100
13                                          Seattle, WA 98104-7036
                                            Telephone: (206) 883-2500
14                                          Facsimile: (206) 883-2699
                                            Email: bkaplan@wsgr.com
15                                          Email: gwatts@wsgr.com
16                                          Attorneys for Defendants Giga Watt, Inc.
                                            and GigaWatt, Pte., Ltd.
17
18
19
20
21
22
23
24
25
     NOTICE OF APPEARANCE OF
                                                                WILSON SONSINI GOODRICH & ROSATI
     BARRY M. KAPLAN                                     701 Fifth Avenue, Suite 5100, Seattle, WA 98104-7036
                        -1                                    Tel: (206) 883-2500 $ Fax: (206) 883-26999
        Case 2:17-cv-00438-SMJ     ECF No. 3    filed 01/11/18     PageID.51 Page 3 of 3




 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on January 11, 2018, I electronically filed the foregoing
 3 with the Clerk of the Court using the CM/ECF System which will send notification
 4 of such filing to the following:
 5         Blythe H. Chandler         bchandler@terrellmarshall.com
 6         Barry M. Kaplan            bkaplan@wsgr.com, rcarter@wsgr.com
 7         Beth E. Terrell            bterrell@terrellmarshall.com
 8         Gregory L. Watts           gwatts@wsgr.com, rcarter@wsgr.com
 9
                                            s/ Barry M. Kaplan
10                                          Barry M. Kaplan, WSBA #8661
                                            Gregory L. Watts, WSBA #43995
11                                          WILSON SONSINI GOODRICH & ROSATI
12                                          Professional Corporation
                                            701 Fifth Avenue, Suite 5100
13                                          Seattle, WA 98104-7036
                                            Telephone: (206) 883-2500
14                                          Facsimile: (206) 883-2699
                                            Email: bkaplan@wsgr.com
15                                          Email: gwatts@wsgr.com

16                                          Attorneys for Defendants Giga Watt, Inc.
                                            and GigaWatt, Pte., Ltd.
17
18
19
20
21
22
23
24
25
     CERTIFICATE OF SERVICE                                    WILSON SONSINI GOODRICH & ROSATI
                                                        701 Fifth Avenue, Suite 5100, Seattle, WA 98104-7036
                                                             Tel: (206) 883-2500 $ Fax: (206) 883-26999
